                    Case 2:19-cr-00129-RSM Document 62 Filed 11/29/21 Page 1 of 8


 AO245C         (Rev.09/19) Amended Judgme in aCriminal Case                                                                     (NOTE: Identiry Changes with Asterisks{'))
                Sheet   I


                                           UNtrpo Srarps DrsrRrct Counr
                                                             Westem District of Washington

                LNITED STATES OF AMERICA                                           AMENDED JUDGMENT IN A CRJMINAL CASE

                            TALIN LEE MORRIS                                       CaseNumber: 2:l9CR00l29RSM-001
                                                                                   USM Number: 49596-086
 Date of Original           Judgment:       0813112021                              Christopher Sanders
 (Or Date of Lasl Amended Judgmenr)                                                Defendanfs A(omey
 Reason for Amendment:
 E   Conection of Sentence on Remand    ( i 8 U.S-C. t742(fxl ) and (2))           D   Modification of Supervision Conditions (18 U.S.C. gg 3563(c) or 3583(e))
 E   Redurion of   Sentence for Changeal Circumstances (Fed. R. Crim. p. 35(b))    E   Modification oflmposed Te.m oftnprisonmeot for Extmordinary ard
 n   Conection ofSentence by Senrencing Courr (Fed. R Cnm. p. 35(a))                   Compelling Reasons (18 U.S.C. S 3582(cXt))
 E   Correction of Sentmce for Clerical Mistake (Fed R. Crim p 16)                 E   Modificdion oflmposed Term oflmpnsonment for Retrective Amendnen(s)
                                                                                       to the Sentencing cuidelines (18 U.S.C. g 3582(cX2))

                                                                                   D   Direat Motion to   Difict coon   pusuant
                                                                                       E   ze u.s.c.   5 zss   or                    E   re   u.s.c. 5:sse1c1zy
                                                                                   I   Modification of Restitution Order   (I   8 U.S.C. g 3664)
THE DEFENDANT:
I pleaded guilty to count(s)                   4and5
 E     pleaded nolo contendere to count(s)
       which was accepted by the court.
 E     was found guilty on counr(s)
       after a plea ofnot guilty.
The defendant is adjudicated guilty ofthese offenses:
Title & Section                            Nature of Offense                                                                       Offense Ended             Count
l8 U.S.C. $$l l3(a)(6)         and         Assault Resulring in Serious Bodily Injury                                              May 2019                        2
I153

l8 U.S.C. ggl l3(a[6) and                  Assault Resulting in Serious Bodily Injury                                              May 2019                        4
I153

l8 U.S.C. ggl l3(a)(3) and                 Assault with a Dangerous Weapon                                                         May 2019                        5
I153


The defendanl is sentenced as provided in pages 2 through 8 ofthisjudgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
E    The defendant has been found not guilty on count(s)
tr   Count(s) I and 3                                 tris            EI   are    dismissed on the motion ofthe United States
Itis ordered that lhe delendant must notiry the Uniled states aflomey for this district-wirhin 30 days ofany change
                                                                                                                               ofname, residence,
or mailing address unlil all fines. restitution, costs. and special asse.ime nii irnpoiiO'Ui rt'il;,riiri,],.,i'.i"'f, tjv 'pt}.'r?,ii'atdi                       ;;;;
reslitulion. the delendant must notiry the courr and unirtid srates Anom"y                 oail;L;"i'cffi;';in
                                                                                                                        ".on",ii"-"i."'ur11tt"n""r.
            Case 2:19-cr-00129-RSM Document 62 Filed 11/29/21 Page 2 of 8


AO245C   (Rev 09/19) Anended Judgmenl in aCriminalCase                                       (NOTE: ldentiry Changes with Asterisks('D
         Shect I
                                                                                                               Judgmeni-   Page 2   of8
DEFENDANT:            TALIN LEE MORRIS
CASENUMBER:           2:l9CRO0l29RSM-001
                                                         -rr'
                                                                  Ia{-q-
                                                           iffi 1tn Drr
                                                           Date of Irnposition of Judgmenl



                                                           Signarure ofJudge

                                                           The Honorable Ricardo S. Martinez
                                                           Chief United States District Judse
                                                           Name and Title ofJudge


                                                           Darc
                  Case 2:19-cr-00129-RSM Document 62 Filed 11/29/21 Page 3 of 8


AO245C        (Rev. 09/19) Amended Judgment in    a   Criminal   Ca-se                                     (NO I   E ldentify   Changes wilh     Aslensk(*))
              Sheet 2       I
                        -
                                                                                                                                  Judgmcnt        Page 3   of8
                                                                                                                                             -
DEFENDANT:                      TALIN LEE MORRIS
CASE NUMBER:                    2:   l9CR00l29RSM-001
                                                                     IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau of hisons to be imprisoned for                           a   total term of:

Fifty two (52) months with credit for ti4qe served includi4g related tribal custody since May, 14, 2019

I    The court makes the following recommendations to the Bureau ofPrisons:

     To be served at FDC-SeaTac of Sheridan, Oregon.


E    The defendant is remanded to the custody ofthe United States Marshal.

E    The defendant shall surrender to the United States Marshal for this district:
     Eat                                     E   a.m.        E p.m.      on

     E   as   notified by the United Stales Marshal.

E    The defendant shall surrender for service of sentence at the institution designated by the Bureau ofPrisons:
     !    before 2 p.m. on
     n   as notified by the United States Marshal.

     E   as   notified by the Probation or Pretrial Services Office

                                                                          RETURN
I have executed this judgment           as   follows:




Defendant delivered on                                                                    to

at                                                ,   with   a certified copy      ofthis judgment.



                                                                                                  UNITED STATES MARSHAL

                                                                              Bv
                                                                                               DEPUTY UNITED STATES MARSHAL
                  Case 2:19-cr-00129-RSM Document 62 Filed 11/29/21 Page 4 of 8


A0245C         (Rev. 09/t9) Amend€d Judgment in   a   Criminal Cas€                            (NOTE: Identi{y ChanSes $'ath Asterisks(+))
               Sheet 3    Swervis€d Release
                      -
                                                                                                                  Judgrncnt    Pagc 4   olE
DEFENDANT: TALINLEEMORRIS
CASE     NUMBER: 2:19CR00l29RSM-001
                                                            SI]PERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for      a   term   of:
Three (3 years)

                                                        MAITDATORY CONDITIONS
l.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days
     of release from imprisonrirent and at least two periodic drug tests thereafter, as determined by the court.
          tr  The above drug testing condition is suspended, based on the court's detemination that you pose a low risk of
              futule substance abuse. Clpck ifqryliable)
4. E      You must make restitution in accordance with l8 U.S.C. $$ 3663 and 36634 or any other statute authorizing a sentence
          of restitution. (dPc* afwli@ble)
5. 8      You must cooperale in the collection ofDNA as dirccted by the probation offcer. (deckfqrnialble)
6. E      You must comply with the requirements ofthe Sex Offender Registration and Notification Acl(34 U.S.C-
          g 20901 , er seq. )'as directed bi the probalion officer, the Bureau-of Prisons. or any state sex offdnder registration
          agency in whiih you reside. work are a sludent. or were convicled ofa qualiSing offense. lclpc* i/adicoble)
7. E      You must participate in an approved prograrn for domestic violence. (ctuckfqplicable)
You must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached pages.
                       Case 2:19-cr-00129-RSM Document 62 Filed 11/29/21 Page 5 of 8


    AO2,15C        (Rev  09/   l9) Anended Judgment m   a   Cnminal Cas€                                 (NOTE: Identify Chan8es u.ith Asterisks(*))
                   Sheet 3A        Supervis€d Release
                               -
                                                                                                                            Judgmen!- P€e     5   ofE
    DEFENDANT:                       TALIN LEE MORRIS
    CASENUMBER:                      2:   l9CR00l29RSM-001
                                              STANDARD CONDITIONS OF SUPERVISION
    As part ofyour supervised release, you must comply wilh the following standard conditions of supervision. These
    conditions are imposed because they establish the basic expectations lor vour behavior while on supervision and identifo
    the minimum tools needed by probition officers to keep inlormed, reporl'lo lhe court about, and bring about improvem6nts
    in your conduct and condition.

    I   .   You must report to the probation ofllce h the lederalj udicial district where you are authorized to reside within 72 hours
            ofvour release from imprisonment. unless the probation officer instructs you lo report to a different probalion omce or
            wiihin a different time frame-
    2.      After initially reporting to the probation omce, you will receive instructions from the court or the probation officer about
            how and when ybu must report to the probation officer, and you must report 1o the probation oflicer as instructed.
    3.      You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
            permission from the coun or the probation offlcer.
    4.      You must answer trulhfully the questions asked by your probation officer.
    5.      You must live at a place approved by lhe probation officer. Ifyou plan to change where you live or an)'thing about your
             living arrangement! (such as the people you live with). you m ust nbtiS the probation officer at Ieast l0 days before the
            change. lf notifuing the probation officer in advance is not possible due to unanticipated circumstances. you musl noti,y
            the probation officer within 72 hours ofbecoming aware ofa change or expected change.
    6.      You must allow the probation officer to visit you al any lime at your home or elsewhere. and you must permit lhe
            probation officer to iake any items prohibitedby the c6nditions irfyour supervision that he orihe observes in plain view.
    7.      You must work full time (at least 30 hours per week) at a lawful type ofemployment, unless the probation officer
            excuses you from doing so. If you do not have full+ime employment you mun try to find full-time employment, unless
            the orobation officer eicuses vou from doins so. lfvou nlan to chanse where vou work or anvthins about vour work
            (sudh as vour oosition or vouiiob resoonsibiiitiest-'vou inust notifo ifie orobat]on oflicer at le'ast I6'davs bi:fore the
            ihanee. If notirying the piobation odcer at least iO'days in advan6e is riot possible due to unanticipattid circurnstances,
            you fiust notiff thEpro6ation o{Ticer within 72 hours dfbecoming aware ofa change or expected ihange.
    8.      You must not communicate or interact with someone you know is engaged in criminal activity. Ifyou know someone
            has been convicted ofa felony, you must nol knowingly communicate oi interact with that pemon without first getting
            the permission of the probatir5n bfficer
 9.         Ifyou are arrested or questioned by a law enforcement officer, you must notiry the probation officer within 72 hours.
10.         You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
            an),thing that was designed, or was modified for, the specific purpose ofcausing bodily injury or death to another person
            such as nunchakus or tasers).
1   l.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
            informanl without first gettinA tEe permission ofthe court.
lr2.        lf the probation officer determines tlnt you pose a risk to another person (includirg an organization). the probation
            officei may require you to notift the peNon aboul the risk and you must comply with that instruction. The probation
            officer may conlact the person and confirm that you have notified the person about the risk.
13.         You must follow the instructions ofthe probation officer related to the conditions ofsupervision.




    U.S. Probation Office Use Only

    A U.S. probation officer          has instructed me on the conditions specified by the court and has provided me with a wrinen copv
    oftlris judgrnent containing these conditions. For funher inforination relarding these condiiions ,       see   Overview of Probatkh
    and Supervised Release Conditions, available at www.uscourts.gov.

    Defendant's Sisnature                                                                            Date
                Case 2:19-cr-00129-RSM Document 62 Filed 11/29/21 Page 6 of 8


AO245C     (Rev. 09/19) Amended Judgment in        a   Criminal Case                   (NOTE: ldcn.i& Changes with Asterisks(+))
            Sheel 3D       S        ised Release
                       -
                                                                                                         Judgment    Pag€ 6   of8
DEFENDANT:                     TALIN LEE MORRIS
CASENUMBER:                    2:   l9CR00l29RSM-001
                                            SPECIAL CONDITIONS OF SUPERVISION

      The defendant shall participate as instructed by the U.S. Probation Officer in a program approved by
      the probation office for treatment of narcotic addiction, drug dependency, or substance abuse, which
      may include testing to determine ifdefendant has reverted to the use ofdrugs or alcohol. The defendant
      shall also abstain from the use of alcohol and/or other intoxicants during the term of supervision.
      Defendant must contribute towards the cost ofany programs, to the extent defendant is financially able
      to do so, as determined by the U.S. Probation Officer. In addition to urinalysis testing that may be a part
      of a formal drug treatment program, the defendant shall submit up to eight (8) urinalysis tests per month.

 2.   The defendant shall submit his or her person, property, house, residence, storage unit, vehicle, papers,
      computers (as defined in l8 U.S.C. $ 1030(e)(l )), other electronic communications or data storage
      devices or media, or office, to a search conducted by a United States probation officer, at a reasonable
      time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
      violation of a condition of supervision. Failure to submit to a search may be grounds for revocation.
      The defendant shall warn any other occupants that the premises may be subject to searches pursuant to
      this condition.

 3.   The defendant shall participate as directed in a mental health program approved by the United States
      Probation OIIice. The defendant must contribute towards the cost of any programs, to the extent the
      defendant is financially able to do so, as determined by the U.S. Probation Officer.

 4.   Restitution in the amount of $2,351 .95 is due immediately. Any unpaid amount is to be paid during the
      period of supervision in monthly installments of not less than l0% of his gross monthly household
      income. lnterest on the restitution shall be waived.

 5.   The defendant shall provide the probation officer with access to any requested financial information
      including authorization to conduct credit checks and obtain copies ofthe defendant's federal income tax
      retums.

 6.   The defendant shall disclose all assets and liabilities to the probation office. The defendant shall not
      transfer, sell, give away, or otherwise convey any asset, without first consulting with the probation
      office.
                   Case 2:19-cr-00129-RSM Document 62 Filed 11/29/21 Page 7 of 8


A0245C         (Rev 09/19) Amended Judgment inaCriminal      Case                                               (NOl E: ldenti   ry Changes   with Asterisks(*))
               She€t 5       Criminal Monetary Penahies
                         -
                                                                                                                                     Judgment        Page 7   of8
DEFENDANT: TALINLEEMORRIS
CASENUMBER: 2:19CR00l29RSM-001
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule ofpayments on Sheet 6.


                   Assessment                       Restitution                   Fine                 AVAA   Assessment' JVIA Assessment"
TOTALS S            3OO                         $    2,351.95                      Waived               None                          None


E    The detemination ofrestitution is deferred until             _                         - An Amenfud Judgment in a Criminal        Case (AO 245C)
     will be entered after such determination.
E    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     Ifthe defendant makes a partial payment, each payee shall receive an approximately prcpodioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to I 8 U.S.C. $ 3664(i), all nonfederal
     victims must be paid before the Urited States is paid.

Name of Payee                                                Total Loss"'                    Restitution Ordered           Priority or Percentage
WA State DSHS        -       Office of
Financial Recovery                                                  s2,3s r .95                         $2,351.9s                                       l00Yo




TOTALS                                                s2,351 .9s                         s2,35 t.9s


!    Restitution amount ordered puEuant to plea agreement $

tr   The defendant must pay interest on restitution and a fine ofmore than $2,500, unless tle restitution or fine is paid in fi:ll before
     the fifteenth day after the date of the judgment, pursuant to l8 U.S.C. $ 3612(f). All ofthe payment options on Sheet 6 may be
     subject to penalties for delinquency and default, puBuant to l8 U.S.C. $ 3612(g).

A    The court determined that the deferdant does not have the ability to pay interest and it is ordered that:
      E                                         the tr fine tr restitution
             the interest requirement is waived for
      !      the interest requirement for the D   fine ! restitution is modified as follows:

E    The court finds the defendant is financially unable and is unlikely to become able to pay a fine and, accordingly, the imposition
     ofa fine    is waived.


     Amy, Vicky, and Andy Child Pornography Victim Assistance Act of20l8, Pub. L. No. I l5-299.
     Justice for Victims ofTrdfficking Act of2015, Pub. L. No. I l4-22.
     Findings for the total amount of losses are required under Chapters t09A, | 10, I l0A, and I l34. ofTitle I8 for
     offenses committed on or after September 13, 1994, but before April 23, 1996.
                  Case 2:19-cr-00129-RSM Document 62 Filed 11/29/21 Page 8 of 8


AO245C        (Rev 09/19) Amendcd Judgment in   a   Criminal Case                                        (NOTE: Ideffiry Changes with Astensks(r))
              Sheet   6   Schedule   of
                                                                                                                           Judgment-Page8of8
DEFENDANT:                   TAIIN LEE MORRIS
CASENUMBER:                  2: l9CR00l29RSM-001

                                                       SCI{EDULE OF PAYMENTS
Having assessed the defendant's abiliry to pay, payment ofthe total criminal monetary penalties is due as follows:

tr     PAYIVIENT IS DUE IMMEDIATELY. Any unpaid amount shall be paid to
       Clerk's Office, United States District Court,700 Stewart Street, Seattle, WA 98101

       A     During the period ofimprisonment, no less than 2570 oftheir inmate gross monlhly income or $25.00 per quarter,
             whichever is greater, to be collected and disbursed in accordance with the Inmate Financial Responsibility Program.

       E     During the period of supervised release, in monthly ilstallments amounting to not less than I O% of the defendant's gross
             monthly household income, to commence 30 days after release from imprisonment,

       tr    During the period ofprobation, in monthly installments amounting to not less than l0% ofthe defendant's gross monthly
             household income, to commence 30 days after the date ofthisjudgment,

       The payment schedule above is the minimum amount that the defendant is expected to pay lowards the monetary
       penalties imposed by the Court. The defendant shall pay more than the amount established whenever possible. The
       defendant must notiry the Court, the United States Probation Office, and the United States Attomey's Office ofany
       material change in the defendant's financial circumstances that might affect the abilify to pay restitution.

Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons' Inmate Financial Responsibility Program are made to the United States Dislrict Court,
Westem District of Washington. For restitution paymenls, the Clerk of the Court is to forward money received to the
party(ies) designated to receive restitution specified on the Criminal Monetaries (Sheet 5) page.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

fI    Joint and Several

      Case Number
      Defendant and Co-Defendant Narnes                                                   Joint and Several          Corresponding Payee,
      (i n c I ud in g d efenda n t n un b e r)                     Total Amount               Amount                      ifappropriate



tr    The defendant shall pay the cost ofprosecution.

!     The defendant shall pay the following court cost(s):

tr   The defendant shall forleit the defendant's interest in the foltowing property to the United Stales:




Paymens shall be applied in &e following order: (l) assessment, (2) restitution principal, (3) restitution interesl, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessmert, (9) penalties, and (10) costs, including cost of
prosecution and cout costs.
